  %A0 245C         Case
                 (Rev. 06105)4:07-cr-40006-JPG               Document 284
                             Amended Judgment in a Criminal Case                         Filed 04/01/08             Page(NOTE:
                                                                                                                         1 of 6IdentifyPage   IDwith Asterisks (*))
                                                                                                                                        Changes
                                                                                  #903

                                                     UNITEDSTATES
                                                                DISTRICTCOURT
                               SOUTHERN                                      District of                                      ILLINOIS

              UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT I N A CRIMINAL CASE
                                       v.
                                                                                       Case Number: 4:07CR40006-001 -JPG
                           DAMIAN Y. JAMES
                                                                                       USM Number: 07310-025
  D a t e of O r i g i n a l J u d g m e n t :      3/14/2008                          Timothy J . C a p p s
  (Or Date of Last Amended Judgment)                                                   Defendant's Altorney
  Reason for Amendment:
      Correction of Sentence on Remand (18 U.S.C. 3742(D(l)and (2))                     [7 Modification of Supervision Conditions (18 U.S.C. $8 3563(c)or 3583(e))
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                       Modification of Imposed Term of Imprisonment for Exbaordinaty and
      P. 35(b))                                                                            Compelling Reasons ( I 8 U.S.C. 5 3582(c)(l))
      Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(a))                I7 Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                           to the Sentencing Guidelines ( I 8 U.S.C. 5 3582(c)(2))
  @Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                             Direct Motion to District Court Pursuant [7 28 U.S.C. 5 2255 or
                                                                                                 18 U.S.C. 5 3559(cH7)
                                                                                             Modification ofRestitution Order (18 U.S.C. 8 3664)

  THE D E F E N D A N T :
        pleaded guilty to count(s)
      pleaded nolo contendere to count(s)                                                                                          '30 1 ,,r.
      which was accepted by the court.
f @ was found guilty on count(s)       1 , 2, 3 a n d 4 of the Superseding Indictment
      after a plea of not guilty.
  The defendant is adjudicated guilty of these offenses:
  Title & Section                           Nature of Offense                                                            Offense Ended                    Count
   21 U.S.C. 046                                 Conspiracy to Dbtributs Over 50 G r a m s of Cocalocil Base               31712007                        Is
    1 8 U.S.C. 924(a)(2)                         Unlawful Possession of a Firearm by a Felon                               11/25/2006                     2s
   22 U.S.C. 841(a)(10                           Distributm of Less Than Five Gwnq sf Cocaine Base            10/2/2003                %&45
                                                                  -
         The defendant is sentenced as ~rovidedin ~. a e e 2s throueh
  the Sentencing Reform Act of 1984.
                                                                              -  ,
                                                                                 rf9     -of this .  -
                                                                                                  iudement. The sentence is imoosed ~ursuantto

        The defendant has been found not guilty on count@)
        Count(s)                                         is                   are dismissed on the motion of the United States.
            I t i5 ordered 111atthe dvkndant must notify the llnitcd States Attome) for this di?trict withiii 30 d a s~oiait) change of name, residence,
  or niailingaddruss unl~lalltines, resutution. costs, and special as,essments imposed b! thi5 judgment we lull!. paid. It ordered to pa) rest~tution,
  the defendant must notit.. the coun and llnited States attorney of material changes in economic circum5tdncr.s.




                                                                                                                                      D~strictJ u d g e
                                                                                       ~ & eo)dudge          .                        Title of Jhdge
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A 0 2458      (Rev. 06/05) Judgment in Criminal Case
                                                                  #904
              Sheet 2 - Imprisonment
                                                                                                         Judgment - Page   -
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DEFENDANT: DAMIAN Y. JAMES
CASE NUMBER: 4:07CR40006-001-JPG


                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  295 months (295 months on Count I.120 months on Count 2 and 235 months on Counts 3 and 4 of the Superseding
  Indictment). All counts to run concurrent with each other.


           The court makes the following recommendations to the Bureau of Prisons:




     @ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                            to

at                                                     , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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              (Rev. 06/05>          in a Criminal Case
                                                                   #905
A 0 2458                 . Judement
                              .
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page      3     of          10
DEFENDANT: DAMIAN Y. JAMES
CASE NUMBER: 4:07CR40006-001-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 10 years (10 years on Count 1.3 years on Count 2 and 6 years on Counts 3 and 4 of the Superseding Indictment). All
 counts to run concurrent with each other.


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime
The del'cndant shall not unlaa.full po,scss a controlled substan~c.'lhc Jcfendant shall rctialn iron1 any unla\\.ful use of a controlled
subalancc The defendant shall .iuimi;to one drug- test n ithln 15 days of relcdsc irom impn,onmcnt and at least trio pertndlc drug tests
thereafter, as determined by the court.
 [7     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                                                      i t IS 3 condttton of supervised release that the defendant pay In accordunce \r.lth the
      l i t h ~ sudgment Imposes a tine or resttrutto~~,
 Schr.dulc o / ~ a y n ~ c n5hcr.t
                            t s of this judb~mcnt.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation ofiicer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do so by the profation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain vlew of the probat~onofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify,third parties of risks that may be occasioned by @e defendant's criminal
           record or           histoly or character~stlcsand shall penmt the probat~onofiicer to make such nohficatlons and to confum the
           defendant s compliance with such notification requirement.
A 0 245B
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           (Rev. 06105) Judgment in a Criminal Care
           Sheet 3C - Supervised Release                        #906
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DEFENDANT: DAMIAN Y. JAMES
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the financial litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicted monies.

 X Based upon the defendant's history of drug and alcohol possession, the Court is exercising its discretion by ordering that
 the defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility, or residential reentry center. The number of drug tests
 shall not exceed 52 tests in a one year period. Any participation will require complete abstinence from all alcoholic
 beverages. The defendant shall pay for the costs associated with substance abuse counseling and1 or testing based on a
 copay sliding fee scale as directed and approved by the United States probation Office. Copay shall never exceed the
 total costs of counseling.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 €8 Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 2458
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           (Rev. 06/05) Judgment inn Criminal Case
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           Sheet 5 -Criminal   Monetary Penalties              #907
                                                                                                         Judgment - Page   5
DEFENDANT: DAMIAN Y. JAMES                                                                                                 - of
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetruy penalties under the schedule of payments on Sheet 6.

                       Assessment                                      -
                                                                       Fine                                    Restitution
TOTALS             $ 400.00                                         $ 800.00                                $ 0.00



     The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case ( A 0 245C) will he entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise /n
     the prlorlty order or percentage payment columnielow. However, pursuant to 18 t k . 8 . 9 36648), all nonfederal v l c t m must be pald
     before the United States is pa~d.

Nalne of Payee                                                                                Restitutiorl Ordered         Priority or Percentage




TOTALS                                                      0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

[7    The defendant must pay interest on restitution and a f i e of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the         @ f i e IJ restitution.
           the interest requirement for the          fie     IJ    restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, bur before Aprll23, 199%.
A 0 2458      Case
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                 06105) Judernent in a Cnrninal Case    Document 284 Filed 04/01/08                   Page 6 of 6         Page ID
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal m o n e m penalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

           IJ not later than                                    , 01
           IJ    in accordance               C,         D,        E, or     @fF below; or

B          Payment to begin immediately (may be combined with             IJC,         D, or     IJF below); or
 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @f Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater toward his fine.




Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminal monetaiy penalties is due durin
imprisonment. All criminaYmoneta penalties, except those payments made througl? t c ~ e d e r a Bureau
                                                                                                    l      of Pnsons' Inmate Fmanci3
Responslbllity Program are made to %e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
